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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )
               v.                             )       CRIM NO. 1:18-cr-00020-DLF
                                              )
MIHAI ALEXANDRU ISVANCA,                      )
                                              )
       Defendant.                             )
                                              )

              MOTION TO FILE REDACTED STATEMENT OF FACTS IN
                              PUBLIC RECORD

       The United States of America, by and through the United States Attorney for the District

of Columbia, moves to file the redacted version of the Agreed Statement of Facts in Support of

Guilty Plea in the public record Attached as Exhibit 1, and to file under seal, the unredacted

Agreed Statement of Facts presented to the court during the plea colloquy scheduled for April

28, 2021. The redacted version of the Agreed Statement of Facts is redacted to exclude

personally identifiable information in compliance with Fed. R. Crim. P. 49.1, along with the

identities of persons identified as unindicted co-conspirators.

                                                      Respectfully submitted,

                                                      CHANNING D. PHILLIPS
                                                      Acting United States Attorney

                                                      /s/ John Dominguez
                                                      John Dominguez
                                                      Demian Ahn
                                                      Assistant United States Attorneys
                                                      United States Attorney’s Office
                                                      555 4th Street, N.W., 4th Floor
                                                      Washington, D.C. 20530
                                                      202-252-7684 (Mr. Dominguez)
                                                      202-252-7106
                                                      John.Dominguez@usdoj.gov
                                                      Demian.Ahn@usdoj.gov
